IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

NORTH CAROLINA STATE CONFERENCE
OF THE NAACP, et al.,

Plaintiffs,
l : 13 CV65 8

V.

PATRICK Li_,OYD MCCRORY, in his official
capacity as Governor ofNorth Carolina, et a[.,

Defendants.

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MEMoRANDUM IN sUPPoRT oF
MOTION TO Q_UASH SUBPOENAS
'I`O STATE LEGISLATORS
NOW COME Senator Phil Berger, Senator Tom Apodaca, Senator Thom Goolsby,
Senator Ralph Hise, Senator Bob Rucho, Representative Thom Ti`llis, Representative
J ames Boles, Jr., Representative David LeWis, Representative Tim Moore, Representative
Tom Murry, Representative Larry Pittrnan, Representative Ruth Sarnuelson and

Representative Harry Warren (coilectively “the legislative movants”), by and through

undersigned counsel, and hereby move to quash the subpoenas served on them by

plaintiffs in the above-captioned action. In support of this motion, the legislative

movants show the Court the following:

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NATURE OF THE MATTER BEFORE THE COURT

This action Was filed by plaintiffs on 12 August 20l3, challenging various
provisions of the Voter Identification Verification Act, 2013 N.C. Sess. Laws 381, also
sometimes referred to as H.B. 589. [DE l] Plaintiffs filed their First Arnended
Cornplaint on 13 November 2013. [DE 26] On 13 Decernber 2013, this Court
consolidated this case With League of Women Voters v. Smte of North Carolina
(M.D.N.C. 1:13CV66()) and Um`ted Sfates v. Stare of North Carolina (M.D.N.C.
n 1:13CV861) for purposes of discovery and scheduling [DE 39]

STATEMENT OF THE RELEVANT FACTS

On 4 December 2013, plaintiffs gave notice pursuant to Rule 45(a)(4) of the
Federal Rules of Civil Procedure of their intent to serve subpoenas on various persons
and organizations, inciuding the legislative movants. On 10 Decernber 2013', counsel for
defendants in the North Carolina Attorney Generai’s Office informed counsel for
plaintiffs that he Was authorized to accept service _of all subpoenas to the legislative
movants, With the exception of the subpoena to Senator Thorn Gooisby, for Which he did
not yet have authorization On ll Deceinber 2013, plaintiffs served the subpoenas on the
legislative movants, With the exception of Sen. Goolsby, through counsel in the North
Carolina Attorney General’s Office. On 18 Deceinber 2013, counsel for defendants in
the North Carolina Attorney General’s Office informed counsel for plaintiffs that he Was
authorized to accept service of the subpoena to Sen. Goolsby, and on 19 Decernber 2013,

plaintiffs served the subpoena on Sen. Goolsby, through counsel in the North Carolina

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Attorney General’s Office. Ali of the subpoenas served on the legislative movants are
returnable 20 January 2014.

Each of the subpoenas served on the legislative movants purports to require the
production of documents and includes what is designated as “Piaintiffs’ First Set of
Requests For Production” to each of the legislative movants. The documents sought in

these requests for production are as follows:

1. All documents and communications received or created by you
concerning the rationale, purpose, implementation, and/or text of
H.B. 589.

2. All documents concerning communications between you and your
constituents regarding any provision in H.B. 589 or any other
election iaw proposed during the 2013 session of the General
Assembly.

3. All documents concerning communications between you and any
other legislator in the North Carolina General Assembly regarding
any provision in H.B. 589 or any other election law proposed during
the 2013 session of the General Assernbly.

4. All documents concerning communications between you and the
office of the Governor of North Carolina regarding any provision in
H.B. 589 or any other election law proposed during the 2013 session
of the General Assembly.

5. Ali documents concerning communications between you and any
North Carolina state agency regarding any provision in H.B. 589 or
any other election law proposed during the 2013 session of the
General Assembiy.

6. All documents concerning communications between you and any
lobbyists, political organizations, or public interest groups regarding
any provision in H.B. 589 or any other election law proposed during
the 2013 session of the Generai Assembly.

7. All documents and communications received or created by you
concerning procedural irreguiarities in enacting H.B. 589.

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8. All documents and communications received or created by you
related to any incident of in~person voter fraud or any incident of
voter fraud involving absentee ballots from 1995 to the present

 

9. All documents and communications received or created by you
relating to reports or data issued by the State Board of Elections
concerning proposed, debated, or enacted voting legislation during
the 2013 session of the General Assembly.

10.All documents and communications received or created by you
referring or relating to any estimate, report, study, or analysis of the
number, race, and/or ethnicity of registered voters who do not have
any of form of photo identification that is acceptable to vote under
H.B. 589.

il.All documents and communications received or created by you
referring or relating to estimates, reports, studies, or analyses of (i)
the costs to voters to secure documents required to obtain the photo
identification required to vote as set forth in H.B. 589; or (ii) the
costs or expense to the State of North Carolina associated with
implementing the photo identification requirement set forth in H.B.
589.

 

12.All documents and communications received or created by you
referring or relating to a comparison of the State of North Carolina’s
voter registration database with NCDOT records, including but not
limited to any such documents that provide a subset of registered
voters Who do not have an NCDOT-issued ID.

13.All documents and communications received or created by you '
referring or relating to any estimate, report, study, or analysis of
H.B. 589’s impact on future elections, including the impact of H.B.
589 on voter turnout, one~stop absentee voting (early voting), and/or
potential increased waiting times at polls.

 

14. All documents and communications received or created by you
referring or relating to any estimate, report, study, or analysis of any

;: provision in H.B. 589 or any election law proposed or enacted

during the 2013 session of the North Carolina General Assembly.

lS.All documents and communications received or created by you
relating to the cost or expense, including any estimates or analyses,
of administering any provision in H.B. 589 or any election law
proposed or enacted during the 2013 session of the North Carolina
General Assembly.

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16.All documents and communications received or created by you
relating to the costs or expense of election administration for local,
state, and federal elections, before the implementation of H.B. 589.

17 .All documents and communications received or created by you
relating to any data tracking, recording, and/or studying voting
patterns by race.

Exhibits l-l3.
Undersigned counsel represents each of the legislative movants. None of the
legislative movants has waived his or her legislative immunity, and none intends to do so.
ARGUMENT

I. Legislative Immunity Broadly Protects Legislators From Sub_poenas in
Civil Cases.

Each of the legislative movants is a member of the North Carolina General
Assembly; indeed, the subpoenas to each of the legislative movants are addressed to him
or her in his or her legislative capacity as “Senator” or “Representative.” Moreover, all
of the documents that plaintiffs seek to have produced pursuant to the subpoenas are
documents.that the legislative movants would have, assuming that they have them at all,
in their capacities as legislators There is no question that plaintiffs cannot seek this
information from the legislative movants, who are entitled to absolute legislative

immunity. l

 

l Chapter 120, Article 17 of the North Carolina General Statutes addresses legislative
confidentiality, which is distinct from the common law protection of legislative immunity
afforded to legislators The North Carolina Supreme Court has found that Article 17 was
enacted as an aspect of tile North Carolina General Assembly’s internal operations to
protect certain defined legislative communications from disclosure Dickson v. Rucho,
366 N.C. 332, 343, 737 S.E.2d 362, 370 (2013). '

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"l`he United States Supreme Court has long recognized a broad right “of legislators
to be free from arrest or civil process for what they do or say in legislative proceedings.”
Tenney v. Brandhove, 341 U.S. 367, 372 (1951) (emphasis added). The Supreme Court
has expressly extended this protection to state legislators Tenney, 341 U.S. at 372-76,
with respect to actions within the “sphere of legitimate legislative activity.” Tenney,- 34l
U.S. at 377. As the Fourth Circuit has emphasized:

Legislative immunity’s practical import is difficult to overstate.
As members of the most representative branch, legislators bear
significant responsibility for many of our toughest decisions, from
the content of the laws that will shape our society to the size,
structure, and staffing of the executive and administrative bodies
carrying them out. Legislative immunity provides legislators with
the breathing room necessary to make these choices in the public’s
interest, in a way uninhibited by judicial interference and undistorted
by the fear of personal liability. lt allows them to focus on their
public duties by removing the costs and distractions attending
lawsuits It shields them from political wars of attrition lin which
their opponents try to defeat them through litigation rather than at
the ballot box . . . Legislative immunity thus reinforces
representative democracy, fostering public decision making by
public servants for the right reasons '

EEOC v. Wash. Suburban Sanirary Comm ’n, 631 F.3d 174, 181 (4“‘ Cir. 2011).
lmportantly, legislative immunity frees legislators not only from the consequences
of litigation, it also frees them “from the burden of defending themselves.” Dombrowski
v. Eastland, 387 U.S. 82, 85 (l967). “Because litigation’s costs do not fall on named
parties alone, this privilege applies whether or not the legislators themselves have been
sued.” Wash. Suburban Sarzitary Comm ’n, 631 F.3d at 181. “The purpose of the doctrine

[of legislative immunity] is to prevent legislators from having to testify regarding matters

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of legislative conduct, whether or not they are testifying to defend themselves” Schlirz v.
Vagrnia, 854 red 43, 46 (4th cir. 19ss).

The scope of legislative immunity is broad and absolute Unlike many
privileges it does not simply attach to the content of communications Rather, it
encompasses all aspects of the legislative process and forbids plaintiffs from
seeking any production at all from the legislative movants “Where, as here, the
suit would require legislators to testify regarding conduct in their legislative
capacity, the doctrine of legislative immunity has full force.” Schlitz, 854 F.2d at
45. lndeed, speaking specifically in the context of a federal agency-the Equal
Employment Opportunity Agency_attempting to subpoena a local governmental
unit for records, the Fourth Circuit stated “[l]egislative privilege against
compulsory evidentiary process exists to safeguard . . . legislative immunity and to
further encourage the republican values it promotes” and held that “if the EEOC or
private plaintiffs sought to compel information from legislative actors about their
legislative activities, they would riot need to comply.” Wash. Subur'bdn Sanitary
Comrn'n, 631 F.3d at 181 (emphasis added); Gravel v. Um'red States, 408 U.S.
606, 6l6, 628 (1972) (approving of protective order forbidding any questioning
‘°concerning communications between the Senator and his aides during the term of
their employment and related to [any] legislative act of the Senator”); Ml'ller v.
Transamerican Press, `Inc., 709 F.2d 524, 532 (9th Cir.'1983) (affirming denial of
motion to compel former federal legislator to testify in deposition about legislative

matters).

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Simply put, the law is clear that the legislative movants are not required and
cannot be required to comply with the subpoenas and requests for production of n
documents served on them by plaintiffs Wash. Suburban Sanitary Ccmm ’n, 631 F.3d at
l8l. Legislative immunity provides the legislative movants with absolute protection
from the discovery sought by plaintiffs For this reason, the Court should quash the
subpoenas served by plaintiffs on the legislative defendants

II. Plaintiffs’ Anticipated Arguments Regarding Legislative Immunity are
Without Merit.

ln their responses to Defendants’ Motion Regarding Order on Electronically
Stored lnformation, plaintiffs claimed that legislative immunity was inapplicable ~ a
position clearly at odds with controlling United States Supreme Court and Fourth Circuit
precedent. lnstead, plaintiffs claimed that the °‘Supreme Court has never resolved
whether an absolute legislative privilege applies to state or local legislators in federal
civil actions” [DE 51 at p. 141 Besides being in complete contravention of Tenney_
wherein the United States Supreme Court has clearly extended the privilege to state
legislators in federal civil actions, plaintiffs’ assertion relies on Unitea’ States v. Gillock,
445 U.S. 360, 373 (1980). Gillock, however, involved consideration of legislative
immunity as applied to a criminal indictment, not a “federal civil action,” and as such it is
plainly inapplicable here, particularly in the face of Tenney.

l’laintiffs also attempted to characterize the immunity as “qualified” but again the
authority they cite misses the mark. [DE 51 at p. l4-15] For instance, Ala. Ea'uc. Ass’n

v. Bentley, No. CV-ll-S~761-NE, 2013 WL 124306 (N.D. Ala. lang 3, 2013), relies on

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Small v. Hunt, 152~F.R.D. 509 (E.D.N.C-. 1994), also cited by plaintiffs However, Small
was a prison overcrowding case where the magistrate judge was deciding whether
documents held by a “Settlement Committee”, which happened to have as members some
legislators,_couid be discovered in an action by the defendants to modify a prior
settlement agreement Small itself relied on Marylanders for Faz`r Representation, Inc. v.
Schaefer, l44 F.R.D. 292 (D. l\/ld. 1992), which involved a party seeking discovery from
a statewide redistricting committee appointed by the Governor and including as members
both legislators and private citizens None of these cases involved an attempt to seek
discovery from legislators for actions taken by them directly related to quintessentially
legislative conduct - voting in their legislative capacities on the floors of the legislative
chambers on bills duly introduced and debated in the halls of .a state legislature
l\/loreover, both Smcill and Marylanders for Fair Representafion pre-date the controlling
Fourth Circuitauthority here: Wash. Suburban Sanitary Comm ’n, 631 F.3d at 181.
Finally, plaintiffs cited Favors v. Cuomo, 285 F.R.D. 187 (E.D.N.Y 2012) and
Rocirz'guez v. Pataki, 293 F.Supp.2d 302 (S`.D.N.Y. 2003). Both Favors and Rodriguez
rely, however, on fn re Grand Jury, 821 F.2d 946 (3“] Cir. 1987), which considered
legislative immunity as applied in the context cfa criminal prosecution While the scope
of legislative immunity may or may not be “qualified” in the context of a criminal
indictment or prosecution, nothing in Tenney or Wash. Suburban‘ Sanz`tary Comm’ri,
where the privilege was considered in civil cases such as this one, is so limited

Accordingly, the legislative movants’ motion to quash should be granted

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III. Because the Appiicability of Legislative Immunity is So Clear, a
Privilege Log Should Not be Required.

Finally, in cases involving privileges analogous to legislative immunity, courts
often recognize that preparing a privilege log is not necessary where the communications
are plainly protected from disclosure Ryan Investment Corp. v. Pec_iregal De Cabo San
Lucas, 2009 WL 5114077, at *3 (N.D. Cal. Dec. 18, 2009) (“counsel’s communications
with the client and work product developed once the litigation commences are
presumptively privileged and need not be included on any privilege log”); Capitol
Records, Inc. v. MPSTuneS, LLC, 261 F.R.D. 44, 51 (S.D.N.Y. 2009); United States v.
Bouchard Transportation, 2010 WL 1529248,_ at *2 (E.D.N.Y. Apr. 14, 2010) (“privilege
logs are commonly limited to documents created before the date litigation was initiated
This is due to the fact that, in many situations, it can be assumed that all documents
created after charges have been brought or a lawsuit has been filed and withheld on the
grounds of privilege were created ‘because of’ that pending litigation”); Frye v. Dan
Ryaa sanders lac., soil wL 666326, ar r7 (N.D. w. va res 11,2011).

ln fact, creation of a privilege log can itself erode the inviolate protections
afforded by the legislative immunity Stz`x Products, 47 F.R.D. at 339 (‘°even the
identification of a communication between attorney and client in terms of the date and
subject might well tend_to defeat the very purpose of the privilege”). Accordingly, no

privilege log should be required

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CONCLUSION
For the foregoing reasons, the legislative movants respectfully pray that the Court

quash the subpoenas served on them by plaintiffs

 

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This the 20th day of J anuary, 2014.

ROY COOPER
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CERTIFICATE OF SERVICE

l, Thomas A. Farr, hereby certify that l have this day electronically filed the
foregoing MnMoRANDUi\/r lN SuPPoRT on MoTIoN 'ro QUASH SUBPoENAs To STATE
LEGISLATORS with the Clerk of Court using the Cl\/l/`ECF system which will provide
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